






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS








JUSTIN DALE EUBANK,



                            Appellant,



V.



THE STATE OF TEXAS,



                            Appellee.
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No. 08-08-00090-CR




Appeal from the



109th District Court



of Andrews County, Texas 



(TC# 5068) 



MEMORANDUM  OPINION


	Justin Dale Eubank appeals his conviction for aggravated assault causing bodily injury
with a deadly weapon against a public servant.  Appellant was sentenced to 25 years
imprisonment in the Texas Department of Criminal Justice Institutional Division.  

	Appellant's court-appointed counsel has filed a brief in which counsel has concluded that
the appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct.
2094, 18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record
demonstrating why, in effect there are no arguable grounds to be advanced.  See High v. State,
573 S.W.2d 807 (Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex.Crim.App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.Crim.App. 1969).  A copy of counsel's brief has been delivered to Appellant, and Appellant
has not exercised his right to file a pro se brief.

	We have carefully reviewed the record and counsel's brief, and agree that the appeal is
wholly frivolous and without merit.  Further, we find nothing in the record that might arguably
support the appeal.  The judgment is affirmed.

	We affirm the judgment of the trial court.



August 19, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


